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IN THE UNITED sTATEs DIsTRIcT CoURr
NoRTHERN DIsTRIcT or TEXAs
FoRT WoRrH DIvrsioN
UNITED sTATEs oF AMERICA
v.' No. 4;13-MJ_423-BJ
soNIA cANTU (02)

JO]NT MOTION TO EXTEND TIME TO H\IDICT

The government, joined by defendant Sonia Cantu, files this Joint Motion to
Extend Time to Indict:
l. On July 16, 2018, a criminal complaint Was filed against the defendant for
Conspiracy to Possess With Intent to Distribute a Controlled Substance, in violation of 21
U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(l)(B)). She appeared for her initial
appearance on August 8. The government moved to detain the defendant at her initial
appearance The defendant vvaived a detention and preliminary hearing The Court found
that probable cause existed to believe that the defendant committed the charged offense,
and ordered the defendant to be detained pending further proceedings
2. Under the Speedy»Trial Act, an indictment must be returned on the instant charge
Within thirty days from the date on Which such [defendant] vvas arrested . . -. in connection
‘ With such charges 18 U.S.C. § 3161(b).
3. The parties request the Court to extend the time in Which an indictment must be

returned until September 20, 2018.

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This Would be an extension of approximately 12 days. The 30th day Would fall on or

about September 8, 2018, not counting excludable time under 18 U.S.C. § 3161(h).

4. The reasons for the request are set forth beloW:

a. The parties are in the process of discovery and plea negotiations
This process Will likely impact the charges presented to the grand jury.

b. Granting an extension of time to indict Would be in the interest of
judicial economy If the thirty-day time period is extended, it is
possible that a plea agreement can be reached, thus negating the need

to indict.

5. The parties believe that such an extension Would serve the ends of justice and

outweigh the best interest of the public in a speedy trial. See 18 U.S.C. §~3161(h)(7)(A).

The parties submit that the request is not made in an effort to unduly delay the

proceedings ; but rather to insure that justice is achieved

6 . Both the government and the defendant join in this request

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Respectfully submitted,

ER]N NEALY COX
UNITED STATES ATTORNEY

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CERTIFICATE OF CONFERENCE

I hereby certify that I conferred With Williarn Biggs, counsel for defendant and he
communicated on behalf of his client that this motion is unopposed.

/‘///

CH`RISTOPHER R. WoLFE
Assistant United States Attorney

CERTIFICATE OF SERVICE

I certify that a true and correct copy of the above pleading Was served upon
counsel for the defendant in accordanceiwith the provisions of Rule 49 of the Federal
Rules of Criminal Procedure on the l`day of Pc\:rgust

2018.
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/\/(/
CHRIsToPHER R. WoLFE
Assistant United States Attorney

 

CONCURRENCE BY DEFENDANT

I, Sonia Cantu, having been informed of my right to be indicted Within 30 days of
the filing of the Criminal Complaint and after consultation with my attorney, knowingly
and voluntarily Waive my right to be indicted Within 30 days of the filing of the Criminal
Complaint, join in this motion, and request that the Court grant the extension of time to
indict pursuant to 18 U.S.C. § 3161.

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SONIA CANTU WILLIAM BIGGS
Defendant Attorney for Defendant

 

 

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